          Case 1:16-cv-00767-SS Document 74 Filed 07/13/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

LUIS TEREJO,                                       §
                                                   §
       Plaintiff,                                  §
                                                   §
vs.                                                §          CAUSE NO. AU-16-CV-767-SS
                                                   §
PORTFOLIO RECOVERY ASSOCIATES                      §
LLC and WESTERN SURETY                             §
COMPANY,                                           §
                                                   §
       Defendants.                                 §

______________________________________________________________________________

                             NOTICE OF APPEAL
    TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT
______________________________________________________________________________


       Plaintiff LUIS TEREJO and Plaintiff’s counsel MICHAEL J. WOOD, CELETHA C.

CHATHAM, ROBERT ZIMMER, AND TYLER HICKLE file this Notice of Appeal to the United

States Court of Appeals for the Fifth Circuit from the following orders of the District Court for the

Western District of Texas, Austin Division:

       Order entered April 2, 2018 denying Plaintiff’s claim for attorney fees, granting
       Defendants attorney fees, and entering sanctions against Plaintiff’s counsel [Dkt #52]; and

       Order Denying Plaintiff’s Motion to Recuse Judge Sparks (Dkt #56) entered May 2, 2018
       [Dkt #61].


       DATED: July 13, 2018.


                                              Respectfully submitted,


                                              /s/ Celetha C. Chatman

                                              Michael J. Wood
           Case 1:16-cv-00767-SS Document 74 Filed 07/13/18 Page 2 of 2



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                                             LUIS TEREJO and FOR PLAINTIFF’S
                                             COUNSEL MICHAEL J. WOOD,
                                             CELETHA C. CHATHAM, ROBERT
                                             ZIMMER, AND TYLER HICKLE




                                     Certificate of Service

        I hereby certify that on the 13th day of July, 2018, I electronically filed the foregoing

document with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to:

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                                             /s/ Celetha C. Chatman




	                                                                                      Page-2
